                      Case 19-24331-PDR                       Doc 81   Filed 06/18/20   Page 1 of 5
                                                                                                    WFHM
                                                                                                    8480 Stagecoach Circle
                                                                                                    Frederick, MD 21701-4747

                                                                                                    wellsfargo.com




                                                                                                 Fax:         (866) 278-1179
                                                                                             Telephone:       (800) 416-1472
                                                                                            Correspondence: PO Box 10335
                                                                                                       Des Moines, IA 50306
                                                                                  Hours of Operation: Mon-Fri, 6 AM - 10 PM
                                                                                                        Sat, 8 AM - 2 PM CT

February 17, 2012

Loan Number:      0143369122
Property Address: 561 Sw 60 Ave
                  Plantation FL 33317

Ralph L Sanders
561 SW 60 Ave
Plantation FL 33317


Subject: Home Affordable Modification Program

Dear Ralph L Sanders :

We're writing to provide you with the results of our efforts to find a
solution that might help with the mortgage payment challenges you're
facing.

Decision on the Federal Government's Home Affordable Modification Program
Unfortunately, after carefully reviewing the information you've provided,
we are unable to adjust the terms of your mortgage. There are additional liens
on your property that prevent us from completing your request for mortgage
assistance.

If you'd like to discuss why your loan was not approved under the Home
Affordable Modification Program, or find out about other options that
may be available to you, it's critical that you contact us within 30
days of this letter.

During this 30 day period a foreclosure sale on your home will not be
scheduled if permitted by state law. Please understand that you may
continue to receive letters and phone calls related to foreclosure
during this time.

Additional assistance is available
If monthly expenses other than your mortgage payment are creating part
of your financial strain, we encourage you to contact a HUD-approved,
non-profit, community based Credit Counseling agency who can work with
you, at no charge, to lower your other monthly payments. You can find a




Wells Fargo Home Mortgage is a division of Wells Fargo Bank, N.A.
                Case 19-24331-PDR            Doc 81      Filed 06/18/20     Page 2 of 5
Page 2 of 2




local agency by calling (800) 569-4287 or call the HOPE Hotline Number at
(888) 995-HOPE. A counselor will work closely with you, take your financial
circumstances into consideration, create a budget plan that may work
for you and provide assistance in understanding the Borrower Notice
by asking for Making Home Affordable HELP.

Be sure to avoid anyone who asks for a fee for counseling or a loan
modification, or asks you to sign over the deed to your home, or to make
your mortgage payments to anyone other than Wells Fargo Home Mortgage.

If you have any questions about the decision we've made on your
mortgage request, please call a Wells Fargo Home Mortgage representative
at the number listed in the account information section. We'd also like
to hear from you if any of your circumstances have changed, or if you can
provide us with additional information for consideration.

Sincerely,
Wells Fargo Home Mortgage
Fax: 1-866-590-8910

This communication is an attempt to collect a debt and any information
obtained will be used for that purpose. However, If you have received a
discharge of this debt in bankruptcy or are currently in a bankruptcy
case, this notice is not intended as an attempt to collect a debt and,
this company has a security interest in the property and will only
exercise its rights as against the property.

With respect to those loans in the state of California, the state
Rosenthal Fair Debt Collection Practices Act and the Federal Fair Debt
Collection Practices Act require that, except under unusual circumstances
collectors may not contact you before 8 a.m. or after 9 p.m. They may not
harass you by using threats of violence or arrest or by using obscene
language. Collectors may not use false or misleading statements or call
you at work if they know or have reason to know that you may not receive
personal calls at work. For the most part, collectors may not tell
another person, other than your attorney or spouse, about your debt.
Collectors may contact another person to confirm your location or enforce
a judgment. For more information about debt collection activities, you
may contact the Federal Trade Commission at 1-877-FTC-HELP or www.ftc.gov.

The federal Equal Credit Opportunity Act prohibits creditors from
discriminating against credit applicants on the basis of race, color,
religion, national origin, sex or marital status, or age (provided the
applicant has the capacity to enter into a binding contract); because all
or part of the applicant's income derives from any public assistance
program; or because the applicant has in good faith exercised any right
under the Consumer Credit Protection Act. The federal agency that
               Case 19-24331-PDR           Doc 81     Filed 06/18/20    Page 3 of 5
Page 2 of 2




administers compliance with this law concerning this creditor is Office of
the Comptroller of the Currency, Customer Assistance Group, 1301 McKinney
Street, Suite 3450, Houston, TX 77010-9050.

If you reside in the state of New York and if you believe the loss
mitigation request has been wrongly denied, you may file a complaint
with the New York State Banking Department at 1-877-BANK-NYS or
www.banking.state.ny.us.

Wells Fargo Home Mortgage is a division of Wells Fargo Bank, NA ©2009
Wells Fargo Bank, N. A. All rights reserved.
Case 19-24331-PDR   Doc 81   Filed 06/18/20   Page 4 of 5
Case 19-24331-PDR   Doc 81   Filed 06/18/20   Page 5 of 5
